               Case 1:19-cr-00561-LAP Document 156 Filed 09/01/20 Page 1 of 3



                                               ONE BATTERY PARK PLAZA
                                              NEW YORK, NEW YORK 10004

                                                  TELEPHONE: (212) 574-1200
                                                  FACSIMILE: (212) 480-8421                             901 K STREET, N.W.
  RITA GLAVIN                                        WWW.SEWKIS.COM
    PARTNER                                                                                           WASHINGTON, DC 20005
  (212) 574-1309                                                                                     TELEPHONE: (202) 737-8833
                                                                                                     FACSIMILE: (202) 737-5184
glavin@sewkis.com




                                                          September 1, 2020

  VIA ECF
  Honorable Loretta A. Preska
  U.S. District Court
  Southern District of New York
  500 Pearl Street
  New York, NY 10007

             Re:      United States v. Donziger, 19 Cr. 561 (LAP); 11 Civ. 691 (LAK)

  Dear Judge Preska:

         We write on behalf of the United States in response to defendant Steven Donziger’s
  August 31, 2020 letter requesting that the defendant be allowed to call thirty-three witnesses1
  “via online videoconferencing.” Dkt. 153 at 1. Because the defense offers no explanation as to
  why these witnesses should be allowed to testify remotely, or a proposed procedure for such
  testimony to ensure the sanctity of the criminal proceedings, the defense request should be
  denied without prejudice to renewal upon providing more information to the Court.

          On August 17, 2020, this Court addressed the issue of defense witnesses testifying via
  live video and directed:

                      For any defense witness who is unable to attend trial in-person or
                      whose attendance would be unduly burdensome for COVID-19
                      related reasons, Mr. Donziger may move to admit his or her
                      testimony via live video, and the Court will consider those
                      applications on a case-by-case basis.

  Dkt. 124 at 6. The defendant has not followed the Court’s direction. Because “[t]here is a strong
  preference for live testimony,” United States v. Int’l Bus. Machs. Corp., 90 F.R.D. 377, 381
  (S.D.N.Y. 1981), and the defendant has the tool of compulsory process under Fed. R. Crim. P. 17
  to secure live witness testimony at trial, if the defense wants to present witness testimony
  remotely, the defense must explain why the circumstances of the witness should override the
  strong preference for live testimony. Cf. United States v. Buck, 271 F. Supp. 3d 619, 623-24
  (S.D.N.Y. 2017) (denying defense application to present trial testimony from witnesses in

  1
      Nine of the thirty-three witnesses reside in a foreign country. Nine reside in New York, NY.
           Case 1:19-cr-00561-LAP Document 156 Filed 09/01/20 Page 2 of 3

Hon. Loretta A. Preska
September 1, 2020
Page 2


Switzerland via videoconference where the defense did not show that the witnesses were
“unavailable” and their testimony was material, and due to lack of extradition the witnesses’
testimony “may essentially be free of any penalty of perjury, calling into doubt the reliability of
any of the potential testimony”); United States v. Banki, No. 10-cr-08, 2010 U.S. Dist. LEXIS
27116, *7-8 (S.D.N.Y. Mar. 23, 2010) (denying defense application to present trial testimony via
video from witnesses in Iran, given that the United States has “no diplomatic relations with Iran
and no means to extradite even U.S. citizens residing within its borders” and the “oath becomes
nothing more than an empty recital”); United States v. Smith, No. 09-cr-100, 2010 U.S. Dist.
LEXIS 138131, at *5 (W.D.N.C. Dec. 16, 2010) (permitting out-of-state defense witness to
testify via videoconference, where the remote testimony would be provided at a federal
courthouse in the state where the witness resided, a court employee would swear in the witness
and remain in the room with the witness during their testimony, and the defense was “to make all
necessary arrangements for such videoconferencing” and “any difficulties experienced in the
technology at either location are borne at their own risk”); United States v. Guild, No. 07-cr-404,
2008 U.S. Dist. LEXIS 3605, at *7 (E.D. Va. Jan. 17, 2008) (“Defendant must demonstrate that
this is a situation of compelling circumstances where there is good cause for the Court to allow
videoconferencing and that there are measures in place to safeguard the important interests at
stake in criminal proceedings.”).2 Thus, absent more information about each witness, the
defense application should be denied.

        Finally, the defense “proposes that Trial Graphix, one of the vendors who provided
demonstrations to the Court and the parties on August 24, 2020 would be suitable” for calling
each of the thirty-three defense witnesses identified at this time for online videoconferencing.3
Dkt. 153 at 3. Should the Court permit the defense to present witness testimony via
videoconference, and the defense wishes to use an outside vendor for the videoconferencing, the
defense should be responsible for retaining that outside vendor. We informed the defense last
week that, after seeing demonstrations of the S.D.N.Y. in-house videoconferencing system and
the systems offered by two outside vendors, the prosecution believes that the S.D.N.Y. in-house
system is appropriate to use for this trial. While we have no objection to the videoconference
systems offered by either of the outside vendors as an alternative to the in-house system
available in the S.D.N.Y., the defense should be responsible for making any arrangements with
an outside vendor in light of our view that the S.D.N.Y. in-house system is suitable for trial. We
informed the defense of our position last week and provided the contact information for those
two vendors should the defense wish to use an alternative videoconferencing system.




2
 In Guild: “United States Consular Officers will be available in the remote locations where the witnesses are being
videotaped. These persons will be available to swear the witnesses and provide an assurance that the proceedings
maintain the appropriate level of formality and accuracy.” Id. at *9. Further, “Defendant has agreed to assume the
cost and responsibility for procuring and implementing the videoconferencing technology and for ensuring that
appropriate safeguards are in place to protect the sanctity of the criminal proceedings.” Id. at *10.
3
 The defense did not confirm that their list “contains all the names” of witnesses that the defense proposes to call
for remote testimony. Dkt. 153 at 1.
        Case 1:19-cr-00561-LAP Document 156 Filed 09/01/20 Page 3 of 3

Hon. Loretta A. Preska
September 1, 2020
Page 3



                                    Respectfully submitted,



                                    ________/s/________
                                    Rita M. Glavin
                                    Brian P. Maloney
                                    Sareen K. Armani
                                    Special Prosecutor on behalf
                                    of the United States
